Case 8:20-cv-00683-DOC-JDE Document 17

The Tu Firm, APLC; Hoang Huy Tu, esq. (CBN#200842)
Walter Emil Teague III, Esq. (CBN#68548)

10810 Warner Avenue, Suite #12

Fountain Valley, CA 92708
walterteague@thetufirm.com

Tel: (714) 636-6030

 

Filed 07/01/20 Pagelof1 Page ID#:77

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Cardiff Prestige Property, Inc., et. al.

CASE NUMBER
8:20-cv-00683-DOC-JDE

 

Plaintiff(s),
Peoples Republic of China, et. Xt
; NOTICE OF DISMISSAL PURSUANT
TO FEDERAL RULES OF CIVIL
Defendant(s). PROCEDURE 41(a) or (c)

 

 

PLEASE TAKE NOTICE: (Check one)

& This action is dismissed by the Plaintiff(s) in its entirety.

[] The Counterclaim brought by Claimant(s)

is

 

dismissed by Claimant(s) in its entirety.

C1 The Cross-Claim brought by Claimants(s)

is

 

dismissed by the Claimant(s) in its entirety.

C1 The Third-party Claim brought by Claimant(s)

is

 

dismissed by the Claimant(s) in its entirety.

CO ONLY Defendant(s)

 

 

is/are dismissed from (check one) 0 Complaint, 0 Counterclaim, O Cross-claim, O) Third-Party Claim

 

brought by

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

  

Ulf 22 22 Lb

Date

 

“la ture on BP

NOTE: F.R.Civ.P. 41 (a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for

summary judgment, whichever first occurs.

F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive

pleading or prior to the beginning of trial.

 

CV-09 (03/10) NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)

 
